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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )
                                  )       Criminal No. 1: 22-cr-00354-RCL-1 and 2
RICHARD SLAUGHTER, and
CADEN GOTTFRIED                   )
                                  )
                Defendants        )
                                  )

DEFENDANTS’ REPLY TO GOVERNMENT’S OPPOSITION (ECF #57)
TO DEFENDANTS’ MOTION TO DISMISS COUNTS 5 & 7 (ECF # 53)
COMES NOW, the Defendants Slaughter and Gottfried, by and

through undersigned counsel, with this Reply to the Government’s

recent opposition (#57) to Defendants’ Motion to Dismiss (#53)

Counts 5 and 7.

     As a preliminary matter, just yesterday (9/28/2023) the

government filed a superceding indictment, shuffling counts and

adding additional charges. The allegations in Counts 5 and 7

appear to be encapsulated in new Counts 7 and 9. In any case

these allegations must be dismissed as they fail to properly state a

colorable claim; and are otherwise void for vagueness.

     All authorities agree that a non-weapon can become a

“weapon” through use. Thus, a bar of soap, a rolled-up newspaper,

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a can of insect repellent, or a “stick-like object” could conceivably

be a “weapon” for purposes of an assault-with-a-deadly weapon

charge or an engaging-in-physical-violence-in-a restricted-area-

with-a-dangerous-weapon charge. And there are such allegations

contained in the indictments in this case.

     But under the law, the mere carrying of a “stick-like object”—

even while entering and remaining in a restricted area—cannot

constitute the crime of “entering and remaining in a restricted area

with a deadly and dangerous weapon” as alleged in Count 5 (now

apparently Count 7). The same goes with the allegation in Count 7

(now apparently Count 9) that Slaughter engaged in “disorderly

conduct” in a restricted area with a deadly or dangerous weapon.

      The District of Columbia Metropolitan Police Department’s

Standard Operating Procedures for Handling First Amendment

Assemblies and Mass Demonstrations (January 20, 2011) provides

that “Many objects (such as crowbars or wrenches) may be used as

tools or for other useful purposes, and the law does not prohibit

carrying those objects for those purposes. . . . Walking down the

street during a demonstration carrying a crowbar is not a crime.”

Id. Page I-11. This provision is found in the section bearing the
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subtitle: “U.S. CAPITOL, SUPREME COURT, AND FOREIGN

MISSION PROTESTS.”

     A “stick-like object” does not fall into the category of

recognized weapons under D.C. (and federal) law. A “stick-like

object” is not a pistol, dagger, dirk, razor, stiletto, knife with blade

longer than 3", or other dangerous weapon.” Id. Thus, these

criminal counts must be dismissed because they do not allege that

the defendant had specific intent at the time of possession to use it

“unlawfully against another.”

Dated: September 29, 2023                            Respectfully Submitted,

                                                            /s/ John M. Pierce
                                                                John M. Pierce
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                         CERTIFICATE OF SERVICE

      I, John M. Pierce, hereby certify that on this day, September 29, 2023, I

caused a copy of the foregoing document to be served on all counsel through the

Court’s CM/ECF case filing system.



                                      /s/ John M. Pierce
                                      John M. Pierce




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